Case 4:17-cr-00244-Y Document 11 Filed 12/13/17 Page 1 of 4 Page|D 18

  

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UNITED STATES OF AMERICA

 

 

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Cif ERK, U. S. D£STRICT COURT

v. NO ¢§. 17 cR-izaa~r Br--_~….._,..~___
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BRANDY RENE TORRES (1)
a/k/a “BRANDY RENE CEDILLO”

FACTUAL RESUME
INFORl,\/IATION
Connt One - Bank Fraud, in violation of 18 U.S.C. § 1344(2).

PLEA:
Count One - Bank Fraud, in violation of 18 U.S.C. § 1344(2).

PENALTY:
The penalties the Court can impose include:
a. imprisonment for a period not more than 30 years;

b. a fine not to exceed $1,000,000, or twice the amount of criminally derived
property invoived in the transaction(s)',

c. a term of supervised release of not more than five years, Which may be
mandatory under the law and Will foiiow any tenn of imprisonment If the
defendant violates the conditions of supervised release, the defendant could
be imprisoned for all or part of the tenn of supervised release, and multiple
revocations of supervised release may result in a term of imprisonment that
exceeds the maximum term of supervised release;

d. a mandatory speciai assessment of $l()(};
e. restitution to victims or to the eornrnunity, Which may be mandatory under
the law, and Which includes restitution arising from the scheme of

conviction, as set forth in the information; and

f. costs of incarceration and supervision

Faetual Resume - Page f

 

Case 4:17-cr-00244-Y Document 11 Filed 12/13/17 Page 2 of 4 Page|D 19

ELEMENTS ()F THE OFFENSE:

fn order to find the defendant guilty cf the charged offense of bank fraud in
violation of 18 U.S.C. § l344(2), a jury wouid have to be convinced that the
government proved each of the following beyond a reasonable doubt:

First: That the defendant knowingly executed a scheme or artifice as set
out in the intormation;

Second: That the scheme or artifice was executed to obtain money or other
property from a tinanciai institution;

Third: That the scheme or artifice was executed by means of faise or
fraudulent pretenses and representations; and

Fourth: That the false or frauduient pretenses and representations were
material
STIPULATED FACTS:

 

At ali reievant times, Liberty Bank, located in the Fort Worth Division of the
Northern District cf Texas, was a iinanciai institution as defined by 18 U.S.C. § 2(), in
that, it was insured by the Federai Deposit lnsurance Corporation. Plaster Pros is a
iiinited liability company registered in the State of Texas that instalis and repairs plaster
on swimming pools, located in F crt Worth, Texas. S.A.H. was the company president
and J.C.H. was the vice president 30th S.A.H. and J.C.H. were directors of the
company Plaster Pros opened and maintained a company bank account at Liberty Bani<,
account number xxxx5781, located at 633() Davis Bouievard, North Richiand Hills,
'i"exas. S.A.H. and J.C.H. were the only authorized signatories on the account

Defendant Brandy Rene 'i`orres was employed during 20 12 through 2015, as the
Ofiice Manager for Plaster Pros. Her duties inciuded taking calls from customers,
scheduling jobs, ordering materials, processing accounts payable, creating checks to pay

Factual Resnme - I’age 2

Case 4:17-cr-00244-Y Document 11 Filed 12/13/17 Page 3 of 4 Page|D 20

invoices and utilities, and maintaining QuickBooks. She did not have check writing
authority on the Piaster Pros account at Liberty Bank.

lntiniti Surfaces was registered with the Dallas County Clerk’s Oftice on
September 14, 2010, as a retail fiooring business by J.C., 'i`orres’s boyfriend at the time.
Its business address was listed as an address in Fort Worth, Texas, which was the horne
I.C. had shared with Torres. On June 8, 20i3, .i.C. opened a business account in the
name of Intiniti Surfaces at JP Morgan Chase Bank, account xxxx9150. Torres, also
known as Brandy Cedillo, was listed as an authorized writer on the account under the
name Ce_diilo. .i.C. intended that Torres maintain accounting records for Intiniti Surfaces
when the business became operational Iniiniti Surfaces, (infiniti or Iniinity), however,
never opened for business J.C. neither used the account after opening it, nor received
bank statements

Beginning in or around January 2013, and continuing until in or around February
20l5, in the Northern District of Texas, and elsewhere, the defendant, Brandy Rene
Torres, knowingly and willfully devised and executed a scheme and artifice to obtain
money, funds, and credits under the custody and control of Liberty Bank, by means of
material false and fraudulent pretenses and representations

"forres requested J.C.H. to sign blank Plaster Pros checks, claiming that she would
use the checks to pay legitimate vendors but, instead, she made those checks payable to
Infiniti Surt`aces or Brandy Cedillo, though neither payee was entitled to the funds. She
also forged the authorized signatures of S.A.I~I. and J.C.H. on Plaster Pros company

checks and made those checks payable to either Intiniti Surfaces or Brandy Cedillo.

Factaal Resurne - Page 3

Case 4:17-cr-OO244-Y Document 11 Filed 12/13/17 Page 4 of 4 Page|D 21

Between about June 14, 2013 through January 26, 2015, Torres issued 117
fraudulent checks, payable to Infiniti Surfaces, totaling $268,486.24, which were
deposited into the Ini'initi Surfaces account at JP i\/[organ Chase, xxxx9i50. Simiiariy,
between about lanuary 25, 2013 through lanuary 16, 2015, Torres issued 20 fraudulent
checks, payable to Brandy Cedillo, totaling $7,523.7!, which were deposited into her
personal Chase account, number xxxx7964. '.i`liese checks were not authorized payroll
checks To conceal her fraud, Torres would make false entries in QuickBooks when
recording a check’s purpose and/or false notations in the memo section of the checks

Specifically, on or about July 22, 2013, in the Fort Worth Division of the Northern
District of Texas and eisewhere, Tones, also known as Brandy Cedillo, knowingly and
willfully executed and attempted to execute the previously described scheme and artifice
to obtain money and funds under the custody and control of Liberty Banl<, by means of
material false pretenses and representations, in that, Torres forged .`F.C.H.’s signature on
Plaster Pros check number 3481, totaling $3,300.00 and drawn on Liberty Bank, which
check she made payable to infiniti Surfaces and deposited into her Infiniti Surfaces
account at JP Morgan Chase bank.

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Brandy Rene Torres \M~ark§_i§;. Perez
Defendant Counsel§ma@§§ndant

Factual Resume »»~ Page 4

